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EXHIBIT J
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Column Record 1 Calculation
NV440_RECIP_NBR_FILLER_1 X
NV440_RECIP_NBR_BYTE_7 X
NV440_RECIP_NBR_FILLER_2 X
NV440_PHMCY_NBR 462997
NV440_RX_NBR 6948934
NV440_SEQ_NBR 10100
NV440_RX_DT 36762
NV440_TRANS_SWITCH_NBR 3
NV440_AUTH_REFILLS 0
NV440_PRSCR_LIC_NBR PD954
FILLER
NV440_SERVICE_DT 36762
NV440_TRANS_DATE 36762
NV440_TRANS_TM 1899-12-30 13:04:47.000
NV440_PRODUCT_ID_NDC 74613802
NV440_CLM_STAT PD
NV440_QTY_DISPENSED 1000 Cc
NV440_RX_DAYS_SUPPLY 5
NV440_UC_SUBMIT_AMT 91.68
NV440_COST_BASIS_SUBMITTED 1
NV440_DAW_FLG 5
NV440_COMPOUND_CD 1
NV440_CLNT_LOC 0
NV440_CLNT_GROUP_ID V
NV440_REFILL_NBR 0
NV440_CLM_OTH_COV_CD 0
NV440_COST_BASIS_PD 3
NV440_TOTAL_CLM_AMT_PD 28.25 A
NV440_CLM_PMT_DT 36766
NV440_INHERITED_OVR
NV440_UNLMT_FLG
NV440_CLNT_CNTY X
NV440_PHMCY_REG 6
NV440_DISP_EXP_AMT_PD 5.27 B
NV440_DEA_SCHED_CD 0
NV440_INGRED_COST_VDP_CALC 22.42
NV440_GCNSEQNO 9827
NV440_CLM_DRUG_IND
NV440_ACT_USER_ID 0
NV440_ACT_CODE 0
NV440_ACT_REASON
NV440_RECEIPT_DT 36762
NV440_GROSS_AMT_DUE 91.68
NV440_RX_CLARIFICATION_CD 0
NV440_CMPD_DOSAGE_FORM_CD
NV440_CMPD_DISP_UNIT_FORM

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NV440_CMPD_ROUTE_OF_ADMIN

NV440_HMO_PLAN_ID

77

NV440_ OTHER _PAYER_AMT_PD_RECOG

0

NV440_CLM_PMT_ACCTG_INFO

04 13 08

NV440_CLNT_NME_INDX

X

NV440_CLNT_DOB

X

NV440_CLIENT_GENDER

X

NV440_PREGNANCY_IND

NV440_PRODUCT_ID_QUAL

NV440_RX_ORIGIN_CD

NV440_ QTY_PRESCRIBED

NV440_UNIT_OF_MEAS

NV440_PA_TYPE_CD

NV440_PA_NBR_SUBMITTED

NV440_PREF_PROD_FLAG

NV440_PRSCR_LNAME_INDX

NV440_PHMCY_SW_VENDOR

NV440_PHARMACIST_ID

NV440_ COB SEGMENTS SUBMITTED

NV440_OTHER_PAYER_ID_1

NV440_ OTHER _PAYER_DT_1

NV440_ OTHER _PAYER_COV_TYPE_1

NV440_OTHER PAYER ID_QUAL_1

NV440_OTHER_P_RESP_STATUS 1

NV440_OTHER_PAYER_REJ_CODE_1 1

NV440_OTHER_PAYER REJ CODE 1 2

NV440_OTHER PAYER REJ CODE 1 3

NV440_OTHER PAYER REJ CODE_1 4

NV440_OTHER PAYER REJ CODE_15

NV440_OTHER_PAYER_AMT_REC_1

NV440_ OTHER_PAYER_ID_2

NV440_OTHER_PAYER_DT_2

NV440_OTHER_PAYER_COV_TYPE_2

NV440_OTHER_PAYER_ID_QUAL_2

NV440_OTHER_P_RESP_STATUS_2

NV440_OTHER_PAYER_REJ_CODE 21

NV440_OTHER PAYER RE) CODE 2 2

NV440_OTHER_ PAYER_REJ CODE _2 3

NV440_OTHER_PAYER_REJ_CODE_2_4

NV440_OTHER PAYER REJ CODE 2.5

NV440_OTHER_PAYER_AMT_REC 2

NV440_OTHER PAYER_ID_ 3

NV440_OTHER_PAYER_DT_ 3

NV440_OTHER PAYER COV_TYPE 3

NV440_OTHER PAYER ID QUAL 3

NV440_OTHER_ P_RESP_STATUS 3

NV440_OTHER_PAYER_REJ_CODE_ 3 1

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NV440_OTHER_PAYER_REJ CODE_3 2

NV440_OTHER_PAYER_REJ_CODE 3 3

NV440_ OTHER PAYER_REJ_CODE_3 4

NV440_OTHER_PAYER_REJ_CODE 3 5

NV440_OTHER_PAYER AMT_REC_3 0

NV440_DUR_CONFL_RSN_CD_SUB_1

NV440_DUR_SRVC_CD_SUB 1

NV440_DUR_RESULT_CD_SUB_1

NV440_DUR_CONFL_RSN_CD_ SUB 2

NV440_DUR_SRVC_CD_SUB 2

NV440_DUR_RESULT_CD_SUB_2

NV440_DUR_CONFL_RSN_CD_SUB 3

NV440_DUR_SRVC_CD_SUB 3

NV440_DUR_RESULT_CD_SUB_3

NV440_DUR_CONFL_RSN_CD_SUB 4

NV440_DUR_SRVC_CD SUB 4

NV440_DUR_RESULT_CD_SUB 4

NV440_DUR_CONFL_RSN_CD_SUB_5

NV440_ DUR_SRVC_CD SUB 5

NV440_DUR_RESULT_CD_SUB_5

NV440_ DUR_CONFL_RSN_CD_SUB_6

NV440_DUR_SRVC_CD_SUB 6

NV440_DUR_RESULT_CD_SUB_6

NV440_DUR_CONFL_RSN_CD_SUB_7

NV440_DUR SRVC_CD SUB 7

NV440_ DUR_RESULT_CD_SUB_7

NV440_DUR_CONFL_RSN_CD_SUB_ 8

NV440_DUR_SRVC_CD_ SUB 8

NV440_DUR_RESULT_CD_SUB 8

NV440_DUR_CONFL_RSN_CD_SUB_9

NV440_DUR_SRVC_CD_SUB_9

NV440_DUR_RESULT_CD SUB 9

NV440_DUR_REJ_CRIT_ID 0
NV440_PATIENT_PD_AMT SUBMITTED 0
NV440_PATIENT_PAY_AMT_DUE 0
NV440_INGRED_COST_RETURNED 0
NV440_OTHER_PAYER_AMT_PD_SUM 0
NV440_PHMCY_INCENT_AMT_PD 0
NV440_VDP_PA_TYPE

NV440_CLM_TBD_INFO

STECK_NV440_RX_DT 20000824
STECK_NV440_SERVICE_DT 20000824
STECK_NV440_TRANS_ DATE 20000824
STECK_NV440_CLM_PMT_DT 20000828
STECK_NV440_RECEIPT_DT 20000824
STECK_NV440_OTHER PAYER_DT_1 0

STECK_NV440_OTHER PAYER_DT 2 0

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STECK_NV440_OTHER_PAYER_DT_3 0
STECK_ID 154402152
Per Unit Ingredient Cost 0.02283

(A-.15-B)/C
